443 F.2d 1350
    BLACK STUDENTS OF NORTH FORT MYERS JR.-SR. HIGH SCHOOL ex rel. et al., Plaintiffs-Appellants,v.Ray L. WILLIAMS, Superintendent of the Lee County School Board of Public Instruction, et al., Defendants-Appellants, andState of Florida Board of Education, Defendant-Intervenor-Appellant.
    No. 31129.
    United States Court of Appeals, Fifth Circuit.
    June 21, 1971.
    
      Emmet B. Anderson, Board of Public Instruction, Fort Myers, Fla., Stephen Marc Slepin, Rivers Buford, Jr., Gen. Counsel, State Board of Education, Tallahassee, Fla., Charles E. Miner, Jr. Counsel, Board of Education, Tallahassee, Fla., for appellants.
      Spencer L. Smith, Homestead, Fla., John B. Platt, III, Atty., Fort Myers, Fla., Fredricka G. Smith, Homestead, Fla., for plaintiffs-appellees.
      Before JOHN R. BROWN, Chief Judge, GEWIN and MORGAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      In this High School student suspension case we are called upon to review the summary judgment of the District Court reported in 317 F.Supp. 1211 (M.D.Fla., 1970). The students who allegedly staged a walkout over claimed grievances were suspended for a period of ten days. However, the suspension notice issued by the school principal stated that any suspended student who appeared at the school with his parent or guardian might be readmitted within one week.
    
    
      2
      In our opinion this is not an appropriate case for summary judgment. Neither the state statute or statutes involved nor the student suspension should be held constitutionally invalid until the facts are fully developed and clarified. See Williams v. Dade County School Board, 5 Cir., 1971, 441 F.2d 299; Farrell v. Joel, 2 Cir., 1971, 437 F.2d 160; Banks v. Board of Public Instruction of Dade County (D.C.S.D.Fla., 1970) 314 F.Supp. 285.
    
    
      3
      Reversed and remanded.
    
    